Case 1:19-cv-00874-RBJ-MEH Document 45 Filed 06/24/19 USDC Colorado Page 1 of 1




                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO
                                        Alfred A. Arraj United States Courthouse
                                                    901 19th STREET
                                              DENVER, COLORADO 80294

  MARCIA S. KRIEGER                                                                TELEPHONE: (303) 844-2289
  UNITED STATES SENIOR DISTRICT JUDGE




                                         MEMORANDUM

  TO:             Jeffrey P. Colwell, Clerk

  FROM:           Judge Marcia S. Krieger

  DATE:           June 24, 2019

  RE:             Civil Action No. 19-cv-00874-MSK-MEH
                  Warner Bros. Records, Inc., et al. v. Charter Communications, Inc.

         Exercising my prerogative as a Senior Judge, I request that this civil
  action be reassigned.
